Case 1:05-cr-00163-PLM           ECF No. 239, PageID.603           Filed 11/30/05      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                      Case No. 1:05-CR-163

v.                                                             Hon. ROBERT HOLMES BELL

JOHN HOWARD DOUGLAS, JR.,

               Defendant.
                                              /

                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on November 30, 2005, after receiving the written

consent of the defendant, the defendant's attorney, and the attorney for the government. These

consents were also placed on the record in open court.

               Defendant John Howard Douglas, Jr. is charged in a Second Superseding Indictment

(Count 11) with possession with intent to distribute 5 grams or more of cocaine base, cocaine and

marijuana. On the basis of the record made at the hearing, I found that defendant was competent

to enter a plea of guilty and that the plea was knowledgeable and voluntary with a full understanding

of each of the rights waived by the defendant, that the defendant fully understood the nature of the

charge and the consequences of the plea, and that the defendant's plea had a sufficient basis in fact

which contained all of the elements of the offense charged.

               I also inquired into the plea agreement. I found the plea agreement to have been

knowingly and voluntarily made and found that it fully reflected all of the promises made by the


                                                  1
Case 1:05-cr-00163-PLM            ECF No. 239, PageID.604            Filed 11/30/05      Page 2 of 2




parties.

                 Accordingly, I accepted the plea of guilty, subject to final acceptance of the plea by

the District Judge, and I specifically reserved acceptance of the plea agreement for the District Judge.

I ordered the preparation of a presentence investigation report, and directed that a transcript of the

proceedings be prepared and filed with the Clerk of the Court.

                                          Recommendation

                 Based upon the foregoing, I respectfully recommend that the defendant's plea of guilty

to Count 11 of the Second Superseding Indictment be accepted, that the court adjudicate the

defendant guilty of that charge, and that the written plea agreement be accepted at, or before, the time

of sentencing.


Dated: November 30, 2005                        /s/ Hugh W. Brenneman, Jr.
                                                Hugh W. Brenneman, Jr.
                                                United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than ten (l0) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the waiver
of any further right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474
U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030
(1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




                                                   2
